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IN THE UNITED sTATES DrsTRIcT coURT F"“EB 53*' - ¢. D“C.
FoR THE wESTERN DIsTRIcT oF TENNESSEE _
wEsTERN DIVISION 33 iii."i‘."?* §§ PH I?: 33

 

 

UNITED STATES OF AMERICA
Plaintiff,

VS. CR. NO. O4-20400-D

CLYDE ARMSTEAD
Defendant.

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ORDER ON JURY VERDICT AND SETTING

 

This cause came on for trial on May ll, 2005, the United States
Attorney for this district, Katrina Earley, appearing for the Government
and the defendant, Clyde Armstead, appearing in person and with counselr
Mary Catherine Jermann, who represented the defendant.

Jurors were selected. and sworn. After listening to opening
statements, all of the proof, closing arguments and jury charge, the
jurors were excused to begin deliberation.

After due deliberation, the jury returned in open court on May 16,
2005, and announced a verdict of GUILTY to Count 1 of the Indictment.

Jurors were polled individually.

SENTENCING in this CB.SE iS SET fOI MONDAY, AUG`UST 15, 2005, at
1:30 P.M., before Judge Bernice B. Donald.

Defendant is to remain released on his present bond.

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ENTERED this the [é day of May, 2005.

B NICE B. D NALD
ITED STATES DISTRICT COURT

 

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Notice of Distribution

This notice confirms a copy ot` the document docketed as number 46 in
case 2:04-CR-20400 Was distributed by faX, mail, or direct printing on
May 20, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

